Case 2:17-cv-00196-JRG-RSP Document 14 Filed 06/08/17 Page 1 of 1 PageID #: 54




                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC,

                      Plaintiff,
                                                        Civil Action No. 2:17-cv-196
              v.
                                                        JURY TRIAL DEMANDED
RICOH AMERICAS CORPORATION,

                      Defendant.

              NOTICE OF DISMISSAL PURSUANT to RULE 41(a)(1)(A)(i)

       Display Technologies, LLC (“Plaintiff”), pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby gives notice of dismissal of the above-captioned action without prejudice,

with each party to bear its own costs, attorneys’ fees and expenses. The defendant has not

answered or filed a motion for summary judgment, therefore no order is required under the Rule.

                                            Respectfully submitted,

                                            /s/ Thomas C. Wright
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